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NORTHERN DISTRICT OF TEXAS

FILED
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS crER 29 9n40
FORT WORTH DIVISION

CLERK U.S. DISTRICT COURT
UNITED STATES OF AMERICA By:

 

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v. No. 2/9. Md- 1 P
LORAGECAR FIGARO (01)

CRIMINAL COMPLAINT

 

I, C. A. Reed, being first duly sworn, hereby depose and state as follows:
Alleged Offense:
Beginning no later than in or around December 2018 and continuing into and
including February 2019, in the Fort Worth Division of the Northern District of
Texas, Loragecar Figaro, along with others known and unknown, willfully and
knowingly did combine, conspire, confederate, and agree together with each other
to commit an offense against the United States, that is, to steal mail matter and to
possess stolen mail matter in violation of 18 U.S.C. § 1708, and in furtherance
thereof and to effect the illegal objects thereof, committed numerous overt acts, all
in violation of 18 U.S.C. § 371.
I. Tama U.S. Postal Inspector employed by the Fort Worth Division of the U.S. Pos-
tal Inspection Service (USPIS). I am sworn and empowered to investigate criminal
activity involving the U.S. Postal Service. I am currently assigned to the Fort Worth Mail
Theft/Violent Crimes Team. My duties include investigating theft of U.S. Mail, mail
fraud, identity theft, access device fraud and bank fraud. I have been a Postal Inspector
for the USPIS since July of 2006. Prior to becoming a Postal Inspector, I was a letter
carrier for the U.S. Postal Service (USPS) from June 1998 until July 2006.

2. It is my belief that on February 21, 2019, Loragecar Figaro did conspire with

another individual to possess stolen mail matter in violation of 18 U.S.C. § 371

Criminal Complaint - Page 1 of 5
Case 4:19-cr-00115-O Document1 Filed 02/22/19 Page 2of5 PagelD 2

(Conspiracy to Possess, Steal, or Receive Stolen Mail Matter In Violation of 18 U.S.C. §
1708.)
3. Since this affidavit is submitted only for the limited purpose of securing a criminal
complaint, I have not set forth each and every fact known to me concerning this
investigation. I have included what I believe are facts sufficient in establishing probable
cause for the complaint sought. The facts in this affidavit are based on, among other
things, my review of evidence and discussions with other law enforcement officers.
PROBABLE CAUSE
4. In or about December 2018, the USPIS was notified by a Chase Bank fraud
investigator of numerous fraudulent applications for new credit cards. The majority of
these cards were mailed to addresses within the 76133 zip code in Ft. Worth, Texas.
After these cards were mailed by Chase Bank, they were stolen from the mail and used at
multiple merchants to make fraudulent transactions totaling approximately $374,000.00.
Upon further investigation, it was determined these cards were mailed to addresses on the
same postal route. Through the help of the USPS Office of Inspector General (USPS
OIG), the carrier assigned to that route was identified.
5. The carrier explained he# met an individual he only knew as “Figero” who asked
him to intercept credit cards from the mail for him. The carrier agreed and began stealing
these credit cards as he delivered his route. The carrier then met with “Figero” and gave

him the credit cards.

Criminal Complaint - Page 2 of 5
Case 4:19-cr-00115-O Document1 Filed 02/22/19 Page3of5 PagelD3

6. On or about February 20, 2019, the carrier called USPS OIG Special Agent D.
Vasquez to notify him that he was contacted by “Figero” who advised approximately

nine credit cards were scheduled to be delivered the following day.

On February 21, 2019, USPS OIG Special Agents listened to a phone conversation
between the carrier and “Figero” and heard the carrier tell “Figero” he had three credit
cards to give him. “Figero” mentioned he was expecting a total of nine cards and the
carrier indicated to him they would probably be in the mail the following day or two.
“Figero” asked the carrier to meet him later the same day so he could get the credit cards
from him. “Figero” also told the carrier he had “something for him.” The carrier agreed
to meet him at a location in South Arlington, Texas.

7. On February 21, 2019, at approximately 6:00 PM, Postal Inspectors and USPS
OIG Special Agents staged at the Race Trac located at 4201 S. Bowen Rd., Arlington,
Texas and waited for the two parties to meet. Shortly after staging, Affiant and other
investigators, witnessed a subject who was later identified as Loragecar Figaro exit the
front passenger side of a black Dodge Charger, walk across the parking lot and get into
the front passenger seat of the vehicle being driven by the carrier. After a brief amount of
time, Figaro exited the carrier’s vehicle and returned to the black Charger. Postal
Inspectors and USPS OIG Special Agents then stopped the vehicle in which Figaro was
riding before it could leave the parking lot. Figaro and the driver were ordered out of the
vehicle. Postal Inspector B. Stallings observed three pieces of mail protruding from the

right front pocket of Figaro’s pants. Inspector Stallings confirmed these pieces of mail

Criminal Complaint - Page 3 of 5
 

Case 4:19-cr-00115-O Document1 Filed 02/22/19 Page4of5 PagelD 4

were the three credit cards the carrier gave to Figaro.

Affiant then learned Figaro gave the carrier $200 for the three credit cards. Figaro was
then placed under arrest. The driver was then identified as Roderick Deshun Turknett.
Turknett was also arrested for outstanding warrants by Arlington Police Officers.

8. USPS OIG Special Agent D. Vasquez noticed a Chase credit card in plain view,
sitting on the center console of the black Charger. This credit card did not belong to
either of the two occupants of the vehicle. USPS OIG Special Agent T. Naumann then
found another Chase credit card, not belonging to either occupant, under the driver’s seat.
In addition to these credit cards, seven cell phones were located in the immediate area of
the two occupants.

9. Figaro and Turknett were then transported to the Arlington, Texas South Precinct.
USPS OIG Special Agent Vasquez and Postal Inspector M. Dayhuff interviewed Turknett
after he waived his Miranda Rights. Turknett admitted to purchasing laptop computers
on multiple occasions at area Best Buy stores for Figaro. Turknett said Figaro provided
him with fraudulent credit cards to make these purchases. Turknett also said Figaro gave
him a gift card and asked him to purchase a money order a Kroger in Duncanville, Texas.
Turknett also explained Figaro emptied his pockets before getting into the carrier’s
vehicle and placed the items on the center console of the black Charger. Among the

items Figaro placed on the console were two Chase credit cards and four cell phones.

Criminal Complaint - Page 4 of 5
Case 4:19-cr-00115-O Document1 Filed 02/22/19 Page5of5 PagelD5

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10. Based on the foregoing, it is my belief that Loragecar Figaro did conspire with
another individual to possess stolen mail matter in violation of 18 U.S.C. § 371

(Conspiracy to Possess, Steal, or Receive Stolen Mail Matter in Violation of 18 U.S.C. §

CQ.

C. A. REED
Postal Inspector
United States Postal Inspection Service

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Subscribed and sworn to before me on this 22 day of February, 2019 at
/ 33. am/g® in Fort Worth, Texas.

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JEFFREW L. CURETON
Unitédy/States Magistrate Judge

Criminal Complaint - Page 5 of 5
